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     Rene L. Valladares
 1   Federal Public Defender
     Brian D. Pugh
 2   Assistant Federal Public Defender
     Florida State Bar No. 0907294
 3   Email: brian_pugh@fd.org
 4   Sean A. McClelland
 5   Assistant Federal Public Defender
     Nevada State Bar No. 16581
 6   Email: sean_mcclelland@fd.org
     411 E. Bonneville Ave., Ste. 250
 7   Las Vegas, NV 89101
     (702) 388-6577
 8   (702) 388-6261 (Fax)

 9   Steven G. Kalar
     Kalar Law Office
10   California State Bar No. 189550
     Email: Steven@KalarLaw.com
11   1569 Solano Ave. #312
     Berkeley CA 94707
12   (415) 295-4675
     (415) 338-9950 (Fax)
13
     Attorneys for Ronald Yandell
14
15                         UNITED STATES DISTRICT COURT
16                       EASTERN DISTRICT OF CALIFORNIA
17
18
19   UNITED STATES OF AMERICA,                    Case No. 2:19-CR-00107-KJM
20                Plaintiff,                      MEMORANDUM REGARDING
                                                  UNDER SEAL FILINGS
21         v.
                                                  Date: August 21, 2024
22   RONALD YANDELL,                              Time: 9:00 a.m.
23                Defendant.                      Chief Judge Kimberly J. Mueller,
                                                  United States District Court
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 1   I.     INTRODUCTION
 2          After the verdict was returned in Mr. Yandell’s trial, this Court asked that the
 3   parties brief the status of under-seal filings submitted in the case.
 4          This memorandum addresses four categories of under-seal filings made by
 5   Mr. Yandell:1
 6          1.       Proffers regarding impeachment of government cooperating witnesses;
 7          2.       Motions for compulsory process, regarding defense inmate-witnesses;
 8          3.       Memoranda relating to materials covered by CDCR protective orders;
 9          4.       Defense motions for trial subpoenas, subpoenas duces tecum, or writs ad
10   testificandum.
11          A list of under-seal filings by Mr. Yandell, and the category of filing, is attached.
12   See Attachment A, Spreadsheet of Under Seal Filings.
13          Counsel for Mr. Yandell has no objection to the unsealing of the first two of the
14   above categories: impeachment proffers, and motions for compulsory process.
15          As to the third category, the defense is subject to a very restrictive attorneys-eyes-
16   only protective order (required by the CDCR). Mr. Yandell does not seek modification
17   of the CDCR’s protective order. Those CDCR-related materials should accordingly
18   remain under seal.
19
20
      1
21      This memorandum does not address motions not filed by Mr. Yandell that are under
     seal. See, e.g., ECF 2135 (motion under FRE 104); ECF 2165 (regarding
22   writ); ECF 2094 (regarding government motion to preclude hearsay statements of Gary
     Littrell). Before those documents are unsealed, it would be appropriate for the moving
23   party to have an opportunity to object.
24    This memorandum also does not address orders from the Court that were filed under
     seal. See, e.g., ECF 1997, 2039, 2079, 2081, 2089, 2102, 2108, 2114, 2141, 2154, 2160,
25   2178. Many of those orders were issued sua sponte, relating to – for example –
26   videoconferencing of inmate witnesses or other issues relating to these witnesses. See,
     e.g., ECF 2141, 2154, 2160, 2178. No party has asked that these orders be unsealed.
27    Because there is no motion to unseal these orders, the safest course is that they remain
     under seal. If the Court is inclined to unseal them, however, it should first give the
28   affected parties an opportunity to object. See, e.g., ECF 2160.
                                                    3
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 1          Finally, the defense objects to the disclosure of privileged defense strategy
 2   contained within the fourth category: applications for trial subpoenas and subpoenas
 3   duces tecum, and applications for writs ad testificandum. See United States v. Sleugh,
 4   896 F.3d 1007 (9th Cir. 2018).
 5   II.    DISCUSSION
 6          A.     Category One: Mr. Yandell Has No Objection to Unsealing Proffers
                   Regarding Impeachment of Government Witnesses
 7
 8           The government’s case at trial relied heavily on cooperating witnesses. All of
 9   those witnesses faced long potential mandatory minimum sentences if the government
10   was displeased with their trial testimony. All of these witnesses also faced very high
11   sentencing-guideline exposures, providing these cooperators with the incentive to lie
12   during their testimony against Mr. Yandell, curry government favor, and ultimately earn
13   large Section 5K1.1 departures.
14          Over defense objection the Court limited defense counsel’s ability to cross-
15   examine these cooperating witnesses on their potential mandatory-minimum exposure,
16   and on their guideline exposure. The defense vigorously protested that these limitations
17   were unconstitutional limitations on Mr. Yandell’s Sixth Amendment right of
18   confrontation.
19          To preserve this issue for appellate review, Mr. Yandell submitted a proffer of the
20   mandatory-minimum and guideline exposure of each cooperating government witness,
21   and the anticipated area of inquiry on cross-examination. See, e.g. ECF No. 2022 (proffer
22   discussing cooperating witness Jeanna Quesenberry); Appendix A (listing under seal
23   filings in Category One).
24          Now that the trial has resolved, Mr. Yandell has no objection to unsealing these
25   proffers. The press and the public should be able to see the true sentencing exposure of
26   the government’s cooperators, and to contrast that potential exposure to the custodial
27   sentence ultimately imposed by the Court after the government’s Section 5K1.1 motions.
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 1          It must be emphasized, however, that Mr. Yandell’s proffers regarding the
 2   government’s cooperators relied heavily on information and discovery provided to the
 3   defense pursuant to government and CDCR protective order(s). Because of the Court’s
 4   limitations on cross-examination, much of that CDCR information was not disclosed at
 5   trial. While Mr. Yandell does not object to the unsealing of these cross-examination
 6   proffers in Category One, the government and the CDCR may ask that those filings
 7   remain under seal to protect protective-order materials. Because no party is actually
 8   asking that these proffers be unsealed, Mr. Yandell will demure to the Court, the
 9   government’s, the CDCR’s, and cooperating-witnesses counsel’s collective decision on
10   whether proffer-motions containing reference to CDCR discovery should be unsealed.
11          B.     Category Two: Mr. Yandell Has No Objection to Unsealing Motions
12                 for Compulsory Process of Defense-Inmate Witnesses
13          Mr. Yandell moved this Court to provide compulsory process of five incarcerated
14   inmate-witnesses as part of the defense case:                    ,                   ,
15                        ,                     , and                     .
16          After considerable litigation, the Court did not compel the in-person production of
17   a single one of these defense inmate-witnesses.
18          Mr. Yandell has no objection to the unsealing of motions filed by Mr. Yandell
19   relating to the production of these defense-inmate witnesses. See, e.g., ECF No. 2170;
20   Appendix A (listing Category Two Motions).
21          The affected inmate-witnesses, however, may object to unsealing. See ECF 2100.
22   The Court should give affected counsel an opportunity to object before unsealing any
23   Category Two document.
24          It would also be inappropriate for the Court to unseal memoranda filed by the
25   inmate-witnesses in response to Mr. Yandell’s efforts to secure their presence. See, e.g.,
26   ECF No. 2200; 2202; 2256 (motions to quash). Many of the filings by those witnesses
27   include privileged material relating to assertion of Fifth Amendment privilege.
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 1          Notably, no party has moved for the filings of the inmate-witnesses to be unsealed.
 2   If the Court decides to sua sponte unseal filings by inmate-witnesses, it should at least
 3   first provide notice to those witnesses’ counsel and allow them the opportunity to object.
 4          C.     Category Three: Mr. Yandell Does Not Move for Modification of the
 5                 CDCR Protective Orders Regarding Disclosed Material
 6          A particularly challenging aspect of this trial was the management of the great
 7   volume of information provided by the California Department of Corrections and
 8   Rehabilitation.
 9          The first component of this CDCR information were documents and recordings
10   obtained by the government from the CDCR, and then disclosed to the defense in
11   discovery. That discovery material was subject to a stipulated protective order ordered
12   by the Court. As noted above, some motions – such as the cross-examination proffers –
13   contains references to discovery produced under the government protective order. If
14   those materials were to be unsealed, the Court would first have to sua sponte revisit the
15   discovery protective order that the government and the parties agreed upon and this
16   Court ordered. Mr. Yandell, however, is not moving for modification of the protective
17   order with this government.
18          The second component of CDCR information was material obtained from the
19   CDCR directly, through subpoena duces tecum. As noted above, material obtained
20   directly from the CDCR was subject to a very strict attorneys-eyes-only protective order.
21   The CDCR explained that it required this order to ensure the safety of debriefing
22   inmates. Mr. Yandell carefully complied with this attorneys’-eyes-only CDCR order,
23   seeking specific Court permission and stipulated modifications of this protective order
24   with the CDCR when affected material was necessary for cross-examination during trial.
25          The CDCR’s security concerns for its debriefing inmates presumably remains in
26   effect after the Yandell trial is completed. To that end, the attorneys-eyes-only protective
27   order with the CDCR also remains in effect. Mr. Yandell does not seek to be relieved of
28   the limitations of this protective order. To the extent that the Court wishes to sua sponte
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 1   abrogate the attorneys-eyes-only protective order with the CDCR, the CDCR would
 2   presumably wish to first be heard and to object. From the defense perspective, however,
 3   motions relating to these CDCR materials cannot be unsealed unless the CDCR
 4   protective order is first withdrawn by the Court.
 5          D.      Category Four: Mr. Yandell Objects to Unsealing Confidential
 6                  Defense Work Material in Applications for Subpoenas Duces Tecum
                    and Applications for Writs Ad Testificandum
 7
 8          Although no party has moved for disclosure of defense applications for
 9   subpoenas, or for writs ad testificandum, this Court sua sponte directed the parties to
10   brief whether these filings should be unsealed.
11          They should not.
12          In a decision arising out of the Northern District of California, the Ninth Circuit
13   directly addressed the confidentiality of defense subpoena applications. See United States
14   v. Sleugh, 896 F.3d 1007 (9th Cir. 2018). In Sleugh, defendant Boyd (represented by the
15   Federal Defenders’ office) sought Rule 17(c) subpoenas. Id. at 1010. As required by the
16   local rules, the AFPD filing the applications on behalf of Boyd submitted affidavits in
17   support of the subpoena applications. Id. Those applications and affidavits were filed ex
18   parte and under seal. Id.
19          Boyd eventually pleaded guilty and cooperated. He testified against his co-
20   defendant, Sleugh, at trial. Id. Sleugh was convicted at trial of all charges and sentenced
21   to life in custody. Id. at 1011.
22          Appellate briefing for Sleugh was stayed while his appellate counsel sought
23   permission from the district court to unseal Boyd’s Rule 17(c) subpoena applications. Id.
24   Before the district court, Sleugh argued that the sealed subpoena applications presented
25   the possibility that Boyd testified inconsistently at trial – that is, that the facts in the
26   applications may not have been consistent with Boyd’s trial testimony. Id. “Put
27   differently, Sleugh assert[ed] that Boyd’s testimony on behalf of the Government must
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 1   have been inconsistent with any defense theory Boyd used to support the Rule 17(c)
 2   subpoenas.” Id.
 3          The magistrate judge who authorized the subpoenas denied Sleugh’s motion to
 4   unseal them: that denial was upheld by the district court. Id. Sleugh appealed that denial,
 5   and Boyd intervened in the Ninth Circuit. Id.
 6          The Ninth Circuit began its analysis by emphasizing a defendant’s right to
 7   compulsory process in building a defense. Id. at 1012. By contrast, there was no First
 8   Amendment or common law right that created a presumptive right for Sleugh to access
 9   Boyd’s application. Id. at 1013 (adopting the First Circuit’s decision in United States v.
10   Kravetz, 706 F.3d 47 (1st Cir. 2013)). Specifically, the Court held that “there is no
11   presumption of public access under the First Amendment or common law that attaches to
12   Rule 17(c) subpoena applications and their supporting materials. Accordingly, parties can
13   only justify accessing sealed or in camera Rule 17(c) subpoenas, subpoena applications,
14   and supporting documents by demonstrating a ‘special need.’” Id. at 1015.
15          Sleugh attempted to demonstrate a “special need” for access to the sealed
16   materials, arguing that they would show that Boyd (a government cooperator) lied during
17   trial. Id. The Ninth Circuit was unpersuaded. Id.
18          The Ninth also rejected Sleugh’s fallback argument that the subpoena applications
19   should be unsealed because the trial was over. Id. at 1017. “Unsealing Boyd’s Rule 17(c)
20   subpoena applications could reveal Boyd’s defense theories to the state and federal
21   governments for any future trial. The prospect of undermining the confidentiality of
22   Boyd’s defense strategies justified sealing these materials in the first place, which Sleugh
23   does not contest. It is no different now.” Id.
24          Sleugh directly controls the issue of unsealing Yandell’s application for subpoenas
25   and writs ad testificandum. Indeed, Mr. Yandell has a far stronger argument for keeping
26   these materials sealed than Boyd had in Sleugh. First, and most importantly, unlike
27   Sleugh, no party is attempting to show any “special need” to unseal these sensitive
28   defense documents. Absent any showing of “special need” (or indeed, any showing that
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 1   any party is seeking to unseal these materials at all), there is no justification for unsealing
 2   these documents.
 3          Moreover, Mr. Yandell has a more-compelling need for ongoing protection of
 4   defense strategy than was demonstrated by Boyd. Boyd pleaded guilty pursuant to a
 5   cooperation plea agreement, and had no ability to appeal his federal conviction. The only
 6   potential risk to Boyd was the possibility of a future state prosecution. Id. at n.7.
 7          Yandell faces the same danger of state prosecution as Boyd faced in Sleugh.
 8   However, unlike Boyd, there also remains the very real prospect of a re-trial of the
 9   federal charges in the Yandell case. The Yandell defense team has carefully preserved
10   objections, pre-trial motions, and challenges that will ultimately be before the Ninth
11   Circuit. A number of these challenges would require remand and retrial if Mr. Yandell is
12   victorious on appeal. It would be particularly inappropriate to ignore the limitations of
13   Sleugh and to unseal filings that would reveal defense strategy, when the possibility of a
14   federal re-trial is very real.
15          Finally, while the Sleugh decision addressed subpoena applications, there is no
16   meaningful difference as to applications for writs ad testificandum. Mr. Yandell’s writ
17   applications contained the same detailed description of defense strategy and the need for
18   the in-custody witness as was contained in the subpoena applications in Sleugh. As with
19   subpoena applications, disclosure of the writ applications is barred by the limitations
20   recognized in Sleugh.
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 1   III.    CONCLUSION
 2           For the foregoing reasons, the Court should unseal documents in Categories One
 3   and Two (unless the documents implicate materials subject to protective orders, or draw
 4   objections from affected parties).
 5           The Court should keep materials in Categories Three and Four under seal.
 6
 7   Dated this 17th day of June, 2024.

 8                                                    Respectfully submitted,

 9                                                    Rene L. Valladares
                                                      Federal Public Defender
10
11                                                    /s/ Brian D. Pugh
                                                      BRIAN D. PUGH
12                                                    Assistant Federal Public Defender
13
                                                      /s/ Sean A. McClelland
14                                                    SEAN A. McCLELLAND
                                                      Assistant Federal Public Defender
15
16                                                    Kalar Law Office

17                                                    /s/ Steven G. Kalar
18                                                    STEVEN G. KALAR

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              Attachment A
       (Spreadsheet of Under Seal Filings)
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   ECF #       Category                         Yandell Position on Unsealing                                        Notes
   2004        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2022        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2025        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2047        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2058        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2065        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2076        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2182        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2189        1. Impeachment Proffer           No objection, subject to reservations in memorandum.
   2085        2. Motion Compulsory Process     No objection, subject to reservations in memorandum.
   2100        2. Motion Compulsory Process     No objection, subject to reservations in memorandum.
   2170        2. Motion Compulsory Process     No objection, subject to reservations in memorandum.
   2172        2. Motion Compulsory Process     No objection, subject to reservations in memorandum.
   2200        2. Motion Compulsory Process     No objection, subject to reservations in memorandum.
   2202        2. Motion Compulsory Process     No objection, subject to reservations in memorandum.
   2115        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   2116        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   2084        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   2099        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   2158        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   2166        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   2169        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   1024        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   1041        3. CDCR / USAO P.O. Materials    Unsealing not appropriate because of controlling protective order.
   1387        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1387        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1387        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
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   1525        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1525        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1525        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1525        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1681        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
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   1681        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1681        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1934        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1971        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   1983        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2008        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2010        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2020        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2027        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2029        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2030        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2031        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2033        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2034        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2035        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2048        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2050        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2051        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2055        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2061        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2074        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2107        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2228        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2230        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2231        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2232        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2246        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
No Notice on
  Docket       4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.                        17(c) Subpoena - CDCR Materials Pertaining to Beasley
No Notice on
  Docket       4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.                        17(c) Subpoena - CDCR Materials Pertaining to Keeton
No Notice on
  Docket       4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.                        17(c) Subpoena - District Attorney-County of San Luis Obispo
   1824        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2087        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
   2117        4. Subpoena and writ materials   Object to unsealing: United States v. Sleugh.
